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                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE                 Civil Action No. 3:22-cv-00211-SDD-SDJ
ADVANCEMENT OF COLORED PEOPLE
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION
FOR EQUITY AND JUSTICE,
                      Plaintiffs,

                          v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana.

                          Defendant.


EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, TRAMELLE
HOWARD,
                     Plaintiffs,              Civil Action No. 3:22-cv-00214-SDD-SDJ

                          v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana.

                          Defendant.




             NOTICE REGARDING PLAINTIFFS’ POSITION ON
                 NEW ENACTED CONGRESSIONAL MAP
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       Pursuant to this Court’s scheduling order, see ECF No. 330, the Robinson Plaintiffs hereby

provide notice of their position regarding the congressional districting plan passed by the Louisiana

Legislature during the First Extraordinary Session of 2024 as Senate Bill 8 on January 19, 2020,

and signed by Governor Jeff Landry on January 22, 2024 (the “State’s Remedial Map”). See ECF

No. 342. As the statements of the Governor, the Attorney General, and numerous legislators during

the First Extraordinary Session make clear, the State’s Remedial Map was adopted as a direct

result of this Court’s and the Fifth Circuit’s orders finding that the congressional districting plan

adopted by the Louisiana Legislature in March 2022 likely violates Section 2 of the Voting Rights

Act of 1965, 52 U.S.C § 10301, and to avoid imposition of a map by this Court.1

       Plaintiffs do not oppose the new enacted map, but they reject Defendants’ assertion that

“this case is now moot.” ECF No. 342. As indicated in Plaintiffs’ Motion to Apply the First-Filed

Rule, ECF No. 345, after the enactment of the State’s Remedial Map, a case captioned Callais, et

al. v. Landry was filed in the Western District of Louisiana. The Callais plaintiffs assert that the

State’s Remedial Map constitutes an unconstitutional racial gerrymander and is not justified by

the State’s need to comply with Section 2. See Compl., Callais v. Landry, No. 3:24-cv-122-DCJ-

CES-RRS (W.D. La. Jan. 31, 2024). As the Callais litigation makes clear, this case is not moot.

This Court should retain jurisdiction over this matter to determine the legal viability of the State’s

Remedial Map in light of the likely violation previously identified by this Court and the Fifth

Circuit. See N. Carolina v. Covington, 138 S. Ct. 2548, 2551 (2018) (explaining that a voting rights

case does not become moot upon a legislature’s enactment of a new plan and that a court may


1
 E.g., Office of the Governor, Governor Jeff Landry Opens First Special Session on Court
Ordered Redistricting (Jan. 16, 2024), https://gov.louisiana.gov/news/governor-jeff-landry-
opens-first-special-session-on-court-ordered-redistricting (asking legislature to support SB8 to
avoid a map drawn “by some heavy-handed member of the Federal Judiciary”); statement of
Rep. Beaullieu, House Floor, Jan. 19, 2024 (“If we don’t act, it’s very clear that the federal court
will impose the plaintiff’s proposed map on our state and we don’t want that.”).

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retain jurisdiction to evaluate the new plan’s compliance with federal law); E. Jefferson Coal. for

Leadership & Dev. v. Par. of Jefferson, 706 F. Supp. 470, 471 (E.D. La. 1989) (court may defer

to legislative remedy but must assess whether legislature’s “proposal can be adopted without

violence to the Constitution”).

       Accordingly, the Robinson Plaintiffs request that this Court set a status conference at its

earliest convenience to set a schedule for further proceedings.



DATED: February 6, 2024                              Respectfully submitted,



By: /s/ Tracie L. Washington                 By: /s/ Stuart Naifeh
Tracie L. Washington                         Stuart Naifeh (admitted pro hac vice)
LA. Bar No. 25925                            Kathryn Sadasivan (admitted pro hac vice)
Louisiana Justice Institute                  Victoria Wenger (admitted pro hac vice)
8004 Belfast Street                          NAACP Legal Defense and Educational Fund, Inc.
New Orleans, LA 70125                        40 Rector Street, 5th Floor
Tel: (504) 872-9134                          New York, NY 10006
tracie.washington.esq@gmail.com              Tel: (212) 965-2200
                                             snaifeh@naacpldf.org
                                             ksadasivan@naacpldf.org
                                             vwenger@naacpldf.org

Counsel for NAACP Louisiana State            Counsel for Robinson Plaintiffs
Conference, Dorothy Nairne, Martha
Davis, Clee Earnest Lowe, and Rene
Soule




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R. Jared Evans                            Robert A. Atkins (admitted pro hac vice)
LA. Bar No. 34537                         Yahonnes Cleary (admitted pro hac vice)
I. Sara Rohani (admitted pro hac vice)    Jonathan H. Hurwitz (admitted pro hac vice)
NAACP Legal Defense and Educational       Amitav Chakraborty (admitted pro hac vice)
Fund, Inc.                                Adam P. Savitt (admitted pro hac vice)
700 14th Street N.W. Ste. 600             Arielle B. McTootle (admitted pro hac vice)
Washington, DC 20005                      Robert Klein (admitted pro hac vice)
Tel: (202) 682-1300                       Paul, Weiss, Rifkind, Wharton & Garrison LLP
jevans@naacpldf.org                       1285 Avenue Of The Americas
srohani@naacpldf.org                      New York, NY 10019
                                          Tel.: (212) 373-3000
Sarah Brannon (admitted pro hac vice)*    Fax: (212) 757-3990
Megan C. Keenan (admitted pro hac vice) ratkins@paulweiss.com
American Civil Liberties Union Foundation ycleary@paulweiss.com
915 15th St., NW                          jhurwitz@paulweiss.com
Washington, DC 20005                      achakraborty@paulweiss.com
sbrannon@aclu.org                         asavitt@paulweiss.com
mkeenan@aclu.org                          amctootle@paulweiss.com
                                          rklein@paulweiss.com
Nora Ahmed
NY Bar No. 5092374 (admitted pro hac      Sophia Lin Lakin (admitted pro hac vice)
vice)                                     Dayton Campbell-Harris (admitted pro hac vice)*
ACLU Foundation of Louisiana              American Civil Liberties Union Foundation
1340 Poydras St, Ste. 2160                125 Broad Street, 18th Floor
New Orleans, LA 70112                     New York, NY 10004
Tel: (504) 522-0628                       slakin@aclu.org
nahmed@laaclu.org                         dcampbell-harris@aclu.org

John Adcock                                  T. Alora Thomas-Lundborg (admitted pro hac vice)
L.A. Bar No. 30372                           Election Law Clinic
Adcock Law LLC                               Harvard Law School
3110 Canal Street                            6 Everett Street, Ste. 4105
New Orleans, LA 70119                        Cambridge, MA 02138
Tel: (504) 233-3125                          (617) 495-5202
jnadcock@gmail.com                           tthomaslundborg@law.harvard.edu
Additional counsel for Robinson Plaintiffs

*Practice is limited to federal court.




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